Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed11/28/16 Page“_;

  

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

DECISION AND ORDER

v.
l4-CR-6181 EAW

EARL MCCOY and MATTHEW NIX,

Defendants.

 

BACKGROUND
Defendants Earl McCoy (“l\/lcCoy”) and Matthevv Nix (“Nix”) (collectively
“Defendants”), represented by counsel,l both stand accused by Way of a ten-count second
superseding indictment (the “Indictment”) returned on November 19, 2015, as follows:
Count ()ne_Hobbs Act conspiracy in violation of 18 U.S.C. § 1951(a);

Count TWo_-use of firearms during and in relation to a crime of violence in
violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2;

Count Five-narcotics conspiracy in violation of 21 U.S.C. § 846;

Count SiX-possession of firearm in furtherance of drug trafficking crime
in violation of 18 U.S.C. §§ 924(c)(1)(A)(i) and 2;

Count Nine_Hobbs Act robbery in violation of 18 U.S.C. §§ l951(a) and
2; and

 

l Defendant Matthevv Nix Was initially represented by court-appointed counsel Paul
l\/lacAulay (Dkt. 82), but subsequently elected to proceed pro se (Dkt. 92; Dkt. 96; Dkt.
98) and also requested the appointment of standby counsel (Dl<t. 107). Attorney Michael
J. Witmer Was appointed as standby counsel. (Dl<t. 108). Thereafter, Nix requested that
Attorney Witmer be appointed as counsel on his behalf (Dkt. 143), and at an appearance
on November 4, 2016, the Court granted that request (Dkt. 147; Dkt. 148). In addition,
the Court confirmed With Attorney Witmer at the appearance on November 4, 2016, that
the matters before the Court had been fully briefed and no further supplemental briefing

Was required (Dl<t. 147).

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 2 of 15

Count Ten_use of firearm during and in relation to a crime of violence in
violation of 18 U.S.C. §§ 924(0)(1)(A)(ii) and 2.

(Dkt. 79 at 1-2, 4-5, 6-7). ln addition, McCoy is charged individually in the following
additional counts:

Count Three_-attempted Hobbs Act robbery in violation of 18 U.S.C.
§§ 1951(a) and 2;

Count Four_use of firearms during and in relation to a crime of violence
in violation of 18 U.S.C. §§ 924(0)(1)(A)(ii) and 2; and,

Count Seven_possession of firearms by a convicted felon in violation of
18 U.S.C. §§ 922(g)(1), 924(a)(2) and 2.

(Dkt. 79 at 3-4, 5). Finally, Nix is charged individually in Count Eight With possession of
firearms by a convicted felon in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2) and 2.
(Ia’. at 6).

This Court referred all pretrial matters to United States Magistrate Judge Marian
W. Payson pursuant to 28 U.S.C. § 636(b)(1)(A)-(B). (Dkt. 80). On September 21,
2016, Magistrate Judge Payson issued a thorough Report & Recommendation and
Decision & Order, addressing various pretrial motions filed by Defendants. (Dkt. 136).

Pursuant to Fed. R. Crim. P. 59(b)(2) and 28 U.S.C. § 636(b)(1)(C), the parties
had 14 days after being served a copy of the Report & Recommendation to file
objections. The Court granted McCoy an extension of time until October 19, 2016, to file

objections (Dkt. 137). Nix filed objections on October 11, 20162 (Dkt. 138), and

 

2 Nix’s objections Were technically not filed in a timely manner, since only McCoy

requested and obtained the extension of time to file objections (Dl<t. 137). Nonetheless,

_2_

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 3 of 15

McCoy filed objections on October 19, 2016 (Dkt. 141). The Government filed its
response to the objections on November 2, 2016 (Dkt. 146), at which time the Court took
the matter under advisement (Dkt. 149).

STANDARD OF REVIEW

 

Magistrate Judge Payson addressed Defendants’ pretrial motions through a Report
& Recoinmendation and Decision & Order, dealing with both dispositive and non-
dispositive issues. (Dkt. 136). McCoy’s objections addressed the recommendations with
respect to his dispositive pretrial motions, but Nix’s objections addressed both dispositive
and non-dispositive aspects of Magistrate Judge Payson’s determinations

A district court reviews de novo any specific objections to a report and
recommendation addressed to a dispositive issue. Fed. R. Crim. P. 59(b)(3); See also 28
U.S.C. § 636(b)(1) (“A judge of the court shall make a de novo determination of those
portions of the report or specified proposed findings or recommendations to which
objection is made.”); United States v. Male Juvem`le, 121 F.3d 34, 38 (2d Cir. 1997)
(court must make a de novo determination to the extent that a party makes specific
objections to a magistrate’s findings). To trigger the de novo review standard, objections
to a report “must be specific and clearly aimed at particular findings in the magistrate
judge’s proposal.” Molefe v. KLM Royal Dutch Airlz'nes, 602 F. Supp. 2d 485, 487

(S.D.N.Y. 2009). Following review of the report and recommendation, the district judge

 

particularly because of Nix’s pro se status at the time of the filing of the objections, the
Court will consider Nix’s objections as though timely filed.

_3_

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 4 of 15

“may accept, reject, or inodify, in whole or in part, the findings or recommendations
made by the magistrate judge.” 28 U.S.C. § 636(b)(1).

On the other hand, in order to warrant reversal of a non~dispositive determination
by a magistrate judge, a party must demonstrate that the decision is “clearly erroneous or
contrary to law.” ]d. §636(b)(1)(A). “‘A finding is clearly erroneous when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been cominitted.”’ United States v.
Fenezz'cmz', No. 05-CR-290E, 2007 WL 1613630, at "‘1 (W.D.N.Y. June 1, 2007) (quoting
Garcz`a v. Tez`tler, 443 F.3d 202, 211 (2d Cir. 2006)). “This standard is highly deferential,
imposes a heavy burden on the objecting party, and only permits reversal where the
magistrate judge abused h[er] discretion.” Centro De La Comunidad Hispcma De Locusz‘
Valley v. Town of Oyster Bay, 954 F. Supp. 2d 127, 139 (E.D.N.Y. 2013) (quotations
omitted); see also S.E.C. v. Verdz`mmo, 890 F. Supp. 2d 257, 266 (S.D.N.Y. 2011) (“The
clearly erroneous standard is highly deferential, and magistrate judges are afforded broad
discretion in resolving non-dispositive disputes . . . .” (quotation omitted)).

THE OBJECTIONS

The Court has carefully reviewed and considered the Report & Recommendation
and Decision & Order issued by Magistrate Judge Payson on September 21, 2016 (Dkt.
136), the objections filed by both Nix (Dkt. 138) and McCoy (Dkt. 141), and the pretrial
motion submissions filed by both Nix and McCoy before Magistrate Judge Payson (Dkt.
69; Dkt. 95; Dkt. 109; Dkt. 118). Based upon a de novo review of the record, the Court

accepts the proposed findings and recommendations contained in the Report &

_4_

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 5 of 15

Recommendation in their entirety. Furthermore, the Court determines based upon the
record before it that the parts of Magistrate Judge Payson’s Decision & Order to which
Nix has filed objections were neither clearly erroneous nor contrary to the law. The
Court makes these determinations based upon the thoughtful and thorough reasoning set
forth in Magistrate Judge Payson’s Report & Recommendation and Decision & Order,
and will not in this Decision and Order repeat that analysis. However, a few aspects of
the objections warrant further discussion.

McCOY’S REQUEST FOR DISMISSAL OF
COUNTS THREE, FOUR, NINE AND TEN

McCoy argues that because the lndictment does not charge that he acted
“knowingly” or “willfully” to obstruct commerce, the Indictment fails to recite an
essential element of the substantive offense necessary for a finding of a Hobbs Act
robbery, and therefore the Ninth Circuit Court of Appeals’ decision in United States v.
Du Bo, 186 F.3d 1177 (9th Cir. 1999), requires dismissal.

Magistrate Judge Payson rejected this argument in her Report &
Recommendation, noting that the substantive Hobbs Act robbery counts charge McCoy
with “unlawfully” obstructing or attempting to obstruct commerce “by robbery, as that
term is defined in Title 18, United States Code, Section 1951(b)(1).” (Dkt. 79 at 3, 6-7).
The Report and Recommendation goes on to note that robbery is defined in § 1951(b)(1)
as follows:

the unlawful taking or obtaining of personal property from the person or in

the presence of another, against his will, by means of actual or threatened
force, or violence, or fear of injury, immediate or future, to his person or

property.

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 6 of 15

18 U.S.C. § 1951(b)(1) (emphasis added). Because the Second Circuit has recognized
that “robbery” under § 1951(b)(1) implies “knowing” and “willful” conduct, and a Hobbs
Act charge that alleges it is based on § 1951 robbery is sufficient even if it does not
explicitly articulate the terms “knowingly” and “willfully,” Magistrate Judge Payson
concluded that McCoy’s reliance on Du Ba was foreclosed by controlling Second Circuit
authority-namely the decisions in United States v. Jackson, 513 F. App’x 51, 55 (2d
Cir.), cert denied, 133 S. Ct. 1848 (2013), and United States v. Tobz`as, 33 F. App’x 547,
549 (2d Cir. 2002), cert denied, 538 U.S. 933 (2003). (Dkt. 136 at 11).

In the papers submitted to Magistrate Judge Payson, McCoy acknowledged that
the Second Circuit Court of Appeals “has ruled to the contrary,” but he was asserting this
argument to preserve the issue given the lack of authority from the Supreme Court. (Dkt.
69-1 at 11 18; Dkt. 75; Dkt. 109-1 at 6). Yet, in his objections, McCoy appears to argue
that the Second Circuit decisions relied upon in the Report & Recommendation are
distinguishable from the present situation, because in this case McCoy contends that the
Indictment fails to comply with the Fifth Amendment, not that he has been prejudiced by
a lack of adequate notice. (Dkt. 141 at 4-5). l\/lcCoy also attempts to distinguish the
Second Circuit’s decision in Tabz'as on the ground that it addressed the issue under a
“plain error” standard because the defendant had made no pretrial motions. (Id. at 4).

Although not articulated precisely by McCoy, it appears that he is attempting to
argue that the failure to include the words “knowingly” or “willfully” in the Indictment

violates the Grand Jury clause of the Fifth Ainendment, which requires presentation of

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 7 of 15

charges against a defendant to a grand jury. See Harrz`s v. United States, 536 U.S. 545,
549 (2002) (“In federal prosecutions, ‘no person shall be held to answer for a capital[] or
otherwise infamous crime, unless on a presentment or indictment of a Grand Jury’
alleging all the elements of the crime.” (alterations omitted) (quoting U.S. Const. amend.
V)). McCoy appears to contend that the Second Circuit’s decisions in Tobz'as and
Jackson did not address the requirement of the Hobbs Act mens rea allegations in the
context of the Fifth Amendment’s Grand Jury clause, but rather limited their analysis to
whether the defendant was provided with constitutionally adequate notice.

As explained by the court in United States v. Thompson, 141 F. Supp. 3d 188
(E.D.N.Y. 2015):

A grand jury indictment ‘performs three constitutionally required

functions[:] “It permits the accused to be informed of the nature and cause

of the accusation as required by the Sixth Amendment. It prevents any

person from being subject for the same offence to be twice put in jeopardy

of life or limb as required by the Fifth Amendment. Finally, it preserves

the protection given by the Fifth Amendinent from being ‘held to answer

for a capital, or otherwise infamous crime, unless on a presentment or

indictment of a Grand Jury.”’
Ia’. at 194 (alterations in original) (quoting United Staz‘es v. Silverman, 430 F.2d 106, 110
(2d Cir. 1970), modz`fzed, 439 F.2d 1198 (2d Cir. 1970)). In view of these separate
functions, McCoy appears to be arguing that Tabz`as and Jackson failed to address the

requirement of including reference to “knowingly” and “willfully” in a Hobbs Act charge

in order to comply with the Fifth Amendment’s Grand Jury clause.3

 

3 Even if McCoy’s argument was correct (which it is not) that Tobz`as and Jackson
were limited to a challenge of the sufficiency of an indictment based on lack of notice, it

_7_

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 8 of 15

l\/lcCoy’s attempts to distinguish the Second Circuit precedent on this basis are
misplaced In Jackson, the district court had specifically addressed the defendant’s
motion to dismiss the Hobbs Act charge on Fifth Amendment grounds for failure to
allege the requisite mens rea. 749 F. Supp. 2d 19, 26 (N.D.N.Y. 2010). Like l\/lcCoy, the
defendant in Jacksan advanced his argument before the district court based on the Ninth
Circuit’s decision in Da Bo. Id. at 26 n.4. And like McCoy, the defendant in Jackson
argued that the Fifth Amendment had been violated because the indictment did not
specifically contain the “knowing” and “willful” mens rea elements of a Hobbs Act
violation, and “a defendant must be convicted on the basis of the facts presented to the
Grand Jury which indicted him.” ]a’. at 26.

Recognizing that the criminal intent of acting knowingly and willfully must be
conveyed in an indictment charging a Hobbs Act violation, the district court concluded
that the Government satisfied its statutory and constitutional obligations by using the
term “robbery” which necessarily conveyed the mens rea element of knowingly and
willfully. Id. at 27. Reviewing the district court’s decision a’e navo, the Second Circuit
Court of Appeals affirmed the denial of the motion to dismiss the indictment 513 F.
App’x at 54~55. A review of the briefs submitted to the Second Circuit in connection
with that de nova review reveals that the defendant in Jacksan advanced the same
arguments as advanced here by l\/lcCoy_that the indictment’s failure to allege the

requisite mens rea violated the Fifth Amendment’s Grand Jury clause, that Tabz'as was

 

is difficult to see how the reasoning would not be just as applicable to a Fifth Amendment
Grand Jury clause challenge

Case 6:14-cr-06181-EAW-|\/|WP Document 152 Filed 11/28/16 Page 9 of 15

distinguishable because it involved plain error revieW, and that Du Bo’s reasoning should
be adopted_and these arguments were all rejected by the Second Circuit. Thus, binding
Second Circuit precedent forecloses McCoy’s arguments See also United States v.
Alfonso, 143 F.3d 772, 776 (2d Cir. 1998) (reversing district court’s dismissal of Hobbs
Act indictment, even though it did not specify what it was that defendant allegedly
conspired to steal or precisely how the conspiracy would have affected interstate
commerce, where indictment tracked statutory language); United Staz‘es v. Santeramo, 45
F.3d 622, 624 (2d Cir. 1995) (holding that “scienter need not be expressly” alleged in
indictment charging violation of 18 U.S.C. § 924(0)); cf. Unitea’ Stales v. Woodru]j”, 296
F.3d 1041, 1048 (l lth Cir. 2002) (rejecting pretrial motion to dismiss indictment on the
grounds that, among other things, it violated the Fifth Amendment’s Grand Jury clause
for failure to specifically allege that the Hobbs Act violation was committed “knowingly”
or “willfully”).

l\/loreover, even if Da Bo4 were binding on this Court, that decision does not
necessarily require a different result. Du Bo addressed an indictment that alleged the

defendant “unlawfully” affected commerce “by the ‘wrongful’ use of force,” but there

 

4 Du Bo also concluded that the failure to include an element of an offense in an
indictment in violation of the Grand Jury clause of the Fifth Amendment “is not
amenable to harmless error review.” 186 F.3d at 1180. The Second Circuit has adopted
a different approach, concluding defects in an indictment in violation of the Grand Jury
clause are subject to a harmless error analysis Unitea’ Staz‘es v. Lee, 833 F.3d 56, 68-73
(2d Cir. 2016).

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 10 of 15

was no reference, implied or otherwise, to the criminal intent through which the alleged
extortion in that case was conducted5 186 F.3d at 1179.

Here, Count Three charges McCoy with unlawfully attempting to obstruct, delay
and affect commerce “by robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1)” (Dkt. 79 at 3), and Count Nine charges McCoy and Nix with
unlawfully obstructing, delaying and affecting, or attempting to obstruct, delay and affect
commerce “by robbery, as that term is defined in Title 18, United States Code, Section
1951(b)(1)” (z'cl. at 6). Robbery is plainly defined in the referenced statute as:

the unlawful taking or obtaining of personal property from the person or in

the presence of another, against his will, by means of actual or threatened

force, or violence, or fear of injury, immediate or future, to his person or

property, or property in his custody or possession, or the person or property

of a relative or member of his family or of anyone in his company at the

time of the taking or obtaining
18 U.S.C. § 1951(b)(1). Thus, unlike Du Bo, this Court is not left to “guess as to what
was in the minds of the grand jury at the time they returned the indictment.” 186 F.3d at
1179 (quotation omitted). Rather, as reflected by the express language in the Indictment,
the grand jury in this case plainly determined that there was probable cause to believe
that Defendants committed a Hobbs Act robbery (or attempted to do so) through the

unlawful taking or obtaining of property against the person’s will by means of actual or

threatened force, or violence, or fear of injury, immediate or future, Under settled

 

5 ln contrast to the definition of robbery under the Hobbs Act, extortion is not

expressly defined as being conducted “against [the] will” of the victim. 18 U.S.C.
§ 1951(b)(2).

_1()_

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 11 of 15

Second Circuit precedent, this is plainly sufficient to allege the mens rea element of
“knowingly” and “willfully” for a Hobbs Act violation.
McCOY’S M()TION TO SUPPRESS IDENTIFICATION BY WITNESS G()MEZ6
l\/lcCoy argues that the identification procedures utilized with respect to Mr.
Gomez were unduly suggestive, claiming at one point that the Spanish translation by
Investigator Gonzalez was “suspicious” and that the investigators failed to remain
neutral. (Dkt. 141 at 6-9). Magistrate Judge Payson rejected l\/lcCoy’s arguments,
recommending that the motion to suppress Mr. Gomez’s identification be denied based
upon the record presented through the testimony of the investigators involved in the
identification procedure (Dkt. 136 at 29-33).

As an initial matter, Magistrate Judge Payson necessarily determined that the
investigators’ testimony was credible, as she utilized that testimony to make her factual
findings and conclusions of law as set forth in the Report & Recommendation. (Ia’. at 16-
22, 29-33). “The Second Circuit has instructed that where a Magistrate Judge conducts
an evidentiary hearing and makes credibility findings on disputed issues of fact, the
district court will ordinarily accept those credibility findings.” United States v. Lawson,
961 F. Supp. 2d 496, 499 (W.D.N.Y. 2013); see also Carm'on v. sz`lh, 549 F.3d 583, 588
(2d Cir. 2008) (“[A] district judge should normally not reject a proposed finding of a

magistrate judge that rests on a credibility finding without having the witness testify

 

6 Nix argues in his objections that he also joins in McCoy’s motion to suppress Mr.
Gomez’s identification testimony. (Dkt. 138 at 8). However, Nix has failed to establish
his standing to suppress evidence of McCoy’s identification See United States v. Jones,
652 F. Supp. 1561, 1572-73 (S.D.N.Y. 1986) (defendant lacked standing to challenge
identification of co-conspirators).

_11_

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 12 of 15

before the judge.” (quoting Callen v. United Sz‘ates, 194 F.3d 401, 407 (2d Cir. 1999));
Grassz'a v. Scully, 892 F.2d 16, 19 (2d Cir. 1989) (“Had the district court rejected the
magistrate’s conclusions regarding the credibility of the central witnesses without hearing
live testimony from those witnesses, troubling questions of constitutional due process
would have been raised.”); cf United Sz‘ates v. Raa’clatz, 447 U.S. 667, 675-76 (1980)
(district court is not required to rehear witness testimony when accepting a magistrate
judge’s credibility findings).

l\/loreover, the Court agrees with Magistrate Judge Payson’s conclusions that the
procedures utilized during Mr. Gomez’s identification were not unduly suggestive, for
the reasons set forth more thoroughly in the Report & Recommendation. Accordingly,
this Court adopts the Report & Recommendation that l\/choy’s motion to suppress Mr.
Gomez’s identification be denied

NIX’S OBJECTIONS BASED UPON ALLEGED PRE-INDICTMENT DELAY

Nix argues that the grand jury minutes should be inspected and/or the Indictment
dismissed because of pre-indictment delay, focusing on the fact that he was not named as
a defendant in this proceeding until the return of the Second Superseding Indictment on
November 19, 2015--approximately one year after the case was initially commenced
(Dkt. 138 at 5-8). Magistrate Judge Payson recommended the rejection of Nix’s
arguments, finding that Nix failed to “explain or demonstrate how he has been
prejudiced, and no evidence exists to suggest that his ability to defend against the charges
has been impaired by that lapse of time.” (Dkt. 136 at 14). See United Sz‘ates v. Schaefer,

859 F. Supp. 2d 397, 413 (E.D.N.Y. 2012) (to establish a due process claim based upon

_12_

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 13 of 15

pre-indictment delay, “a defendant bears the heavy burden of proving both that he
suffered actual prejudice because of the alleged pre-indictment delay and that such delay
was a course intentionally pursued by the government for an improper purpose” (brackets
and quotations omitted)).

ln his objections, Nix argues that he has been prejudiced by the delay because it
“provided the Government an opportunity to have other alleged conspirators accept deals
predicated on testifying against the Defendant to further retaliate against Defendant for
resisting his drug charges.” (Dkt. 138 at 6). Nix’s arguments in this regard are
completely speculative, and do not satisfy his burden to establish the requisite prejudice
for a due process violation. See, e.g., United States v. Delacruz, 970 F. Supp. 2d 199,
202 (S.D.N.Y. 2013) (rejecting as speculative defendant’s argument that he was
prejudiced by pre-indictment delay because it gave cooperators extra time to fabricate
their stories).

Accordingly, for the reasons set forth herein and more fully in the Report &
Recommendation, this Court agrees that Nix has failed to establish his entitlement to any
relief based upon alleged pre-indictment delay.

OTHER RELIEF REQUESTED BY NIX

ln his objections, Nix includes a request that the Court “grant an Order of
Disclosure of Brady material relating to this failure to identify/misidentification.” (Dkt.
138 at 8). Nix also appears to raise objections to Magistrate Judge Payson’s Decision &
()rder to the extent that it denied l\/lcCoy’s request for the disclosure of confidential

informants and/or co-conspirator statements, and Nix includes without explanation as a

_13_

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 14 of 15

final line in his objections a request for the “disclosure of information regarding Clarence
Lambert’s plea agreement and the insertion of ‘M.N.”’ (Ia’. at 11).

With respect to Nix’s request for the release of Bracly materials, it is the
Government’s obligation to disclose any such information in time for its effective use at
trial. Unitea’ States v. Coppa, 267 F.3d 132, 135, 142 (2d Cir. 2001). Nix has not
presented any evidence to the Court at this juncture justifying the need for a separate
Court order requiring the Government to comply with its existing obligations under
Brady v. Marylana’, 373 U.S. 83 (1963), and its progeny.

ln terms of the request for confidential informants and/or co-conspirator
statements, Magistrate Judge Payson’s Decision & Order is neither clearly erroneous nor
contrary to law. This Court will issue an appropriate Pretrial Order that will govern the
disclosure of this information sufficiently in advance of trial, and the Government has
represented that it is prepared to comply in that regard

Finally, in terms of the Clarence Lambert plea agreement, it is part of the docket in
this case. (Dkt. 65). To the extent that Nix’s request is seeking the disclosure of
confidential informants, the Court agrees with Magistrate Judge Payson’s analysis in her
Decision & Order, and that determination was neither clearly erroneous nor contrary to
law.

CONCLUSION

For the reasons set forth above, and as more fully set forth in Magistrate Judge

Payson’s Report & Recommendation and Decision & Order, the Report &

Recominendation is adopted in its entirety.

_14_

Case 6:14-cr-06181-EAW-I\/|WP Document 152 Filed 11/28/16 Page 15 of 15

l\/lcCoy’s and Nix’s motions to dismiss, Nix’s related request for disclosure of
grand jury minutes, and McCoy’s motion to suppress post-arrest statements (Dkt. 69;
Dkt. 95 ; Dkt. 109; Dkt. 118) are DENIED; McCoy’s motion to suppress the
identification testimony of Ms. Delgado and Nix’s motion to suppress the identification
testimony of the witness who met with Agent Martineck on March 19, 2015 (Dkt. 69;
Dkt. 95; Dkt. 109) are GRANTED; and McCoy’s and Nix’s motions to suppress
identification testimony (Dkt. 69; Dkt. 95 ; Dkt. 109; Dkt. 118) are in all other respects
DENIED. Finally, to the extent that Nix has attempted to appeal certain aspects of the
Decision & Order, it is denied for the reasons set forth above and in Magistrate Judge
Payson’s Decision & Order.

SO ORDERED.

 

   

 

tes ' ict Judge

Dated: November 28, 2016
Rochester, New York

_15_

